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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                    )
 UNITED STATES OF AMERICA, et al.,                  )
                                                    )
        Plaintiffs,                                 )
                                                    )
 v.                                                 ) Civil Action No. 1:23-cv-10511-WGY
                                                    )
 JETBLUE AIRWAYS CORPORATION and                    )
 SPIRIT AIRLINES, INC.,                             )
                                                    )
        Defendants,                                 )
                                                    )


   DEFENDANT JETBLUE AIRWAYS CORPORATION AND SPIRIT AIRLINES,
 INC.’S MOTION IN LIMINE TO ESTOP THE DEPARTMENT OF JUSTICE FROM
    TAKING INCONSISTENT POSITIONS AND TO OVERRULE OBJECTIONS

       Defendants JetBlue Airways Corporation and Spirit Airlines, Inc. (“Defendants”) move

in limine to estop the Department of Justice from taking positions inconsistent with United States

v. Am. Airlines Grp. Inc., No. 1:21-cv-11558-LTS (D. Mass.) and to overrule the Department of

Justice’s objections to the admissibility of its case briefs in that litigation. For the reasons

articulated in Defendants’ Memorandum of Law in Support of Their Motion in Limine to Estop

the Department of Justice from Taking Inconsistent Positions and to Overrule Objections and

the Declaration of Ryan A. Shores, dated September 11, 2023, which have been filed

contemporaneously herewith, the Court should grant Defendants’ motion.




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Dated: September 11, 2023         Respectfully submitted,


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                        L.R. 7.1 CERTIFICATE OF CONFERENCE
       I, Ryan A. Shores, hereby certify that pursuant to Local Rule 7.1, counsel for

Defendants attempted to confer in good faith with counsel for Department of Justice before

filing this Motion to resolve or narrow the issues but were unsuccessful in reaching a resolution

to avoid this Motion.

                               CERTIFICATE OF SERVICE

       I, Ryan A. Shores, hereby certify that on September 11, 2023, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all attorneys of record registered on the CM/ECF system.

       DATED this 11th day of September, 2023.



                                             /s/ Ryan A. Shores
                                             Ryan A. Shores
